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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 RICHARD COOEY, et al.,

                  Plaintiff,

           v.                                            Case No. 2:04-cv-1156
                                                         JUDGE GREGORY L. FROST
 ROBERT TAFT, et al.,                                    Magistrate Judge Mark R. Abel

                  Defendants.

                                       OPINION AND ORDER

           Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

 plaintiff in a civil rights action pending before this Court that challenges multiple facets of the

 lethal injection protocol used by the State of Ohio.    This matter is before the Court on John

 Spirko’s emergency motion to intervene (Doc. # 119) and motion for a preliminary injunction

 (Doc. # 120). For the reasons that follow, the Court GRANTS the former and DENIES the

 latter.

                                  I. Emergency Motion to Intervene

           As it did with respect to John Hicks, Jeffrey Hill, Johnnie Baston, Arthur Tyler, Jeffrey

 Lundgren, Jerome Henderson, and Kenneth Biros, the Court concludes that permissive

 intervention is warranted pursuant to Fed. R. Civ. P. 24(b)(2). That rule provides in relevant

 part:

           Upon timely application anyone may be permitted to intervene in an action: ... (2)
           when an applicant’s claim or defense and the main action have a question of law
           or fact in common. ... In exercising its discretion the court shall consider whether
           the intervention will unduly delay or prejudice the adjudication of the rights of the
           original parties.

 Fed. R. Civ. P. 24(b)(2).
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        The Court must first determine whether the application to intervene is timely. In

 addressing timeliness, the Court must consider:

        (1) the point to which the suit has progressed; (2) the purpose for which
        intervention is sought; (3) the length of time preceding the application during
        which the proposed intervenor knew or reasonably should have known of his
        interest in the case; (4) the prejudice to the original parties due to the proposed
        intervenor’s failure, after he or she knew or reasonably should have known of his
        interest in the case, to apply promptly for intervention; and (5) the existence of
        unusual circumstances militating against or in favor of intervention.

 United States v. Tennessee, 260 F.3d 587, 592 (6th Cir. 2001) (quoting Grubbs v. Norris, 870

 F.2d 343, 345 (6th Cir. 1989)).

        Pursuant to the reasoning set forth in this Court’s March 28, 2005 Opinion and Order

 (Doc. # 14), the statute of limitations on Spirko’s § 1983 claim did not begin to run until his

 execution became imminent (i.e., when the United States Supreme Court declined to review his

 habeas corpus case or when the time for seeking United States Supreme Court review expired)

 and when he knew or had reason to know of the facts giving rise to his claim. The United States

 District Court for the Northern District of Ohio denied Spirko’s habeas corpus petition on July

 11, 2000. (Doc. # 119, at 2.) The Court of Appeals for the Sixth Circuit affirmed the denial of

 habeas corpus relief on May 17, 2004. Spirko v. Mitchell, 368 F.3d 603, 614 (6th Cir. 2004).

 The United States Supreme Court denied certiorari on March 28, 2005. Additionally, Spirko

 filed in the district court on April 27, 2005 a motion for relief from judgment pursuant to Fed. R.

 Civ. P. 60(b), litigation of which concluded on December 22, 2005, when the Sixth Circuit

 affirmed the district court’s decision denying relief. (Doc. # 130, at 3.) Further, the clemency

 application that Spirko began litigating simultaneously with his Rule 60(b) litigation is still

 unresolved and has five times resulted in reprieves, all of which the Attorney General requested


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 to allow for the completion of DNA testing. (Id. at 3-4) Most recently, Governor Taft granted

 Spirko a reprieve on October 20, 2006, delaying Spirko’s execution date until April 17, 2007.

 (Id. at 4.) Spirko filed the instant emergency motion to intervene on November 20, 2006.

        In determining whether Spirko’s application is timely, the first factor the Court must

 consider is the point to which the suit has progressed. United States v. Tennessee, 260 F.3d at

 592. It is beyond dispute that this litigation remains in its early stages. On April 13, 2005, this

 Court issued an order granting Defendants’ request for an interlocutory appeal. (Doc. # 21.)

 This litigation has not even reached the discovery stage. Thus, by the time Spirko filed the

 instant motion to intervene, this Court had long before stayed the instant litigation, which has not

 progressed since.

        The second factor this Court must consider is the purpose for which intervention is

 sought. In this regard, Defendants argue that “this Court should recognize that Spirko is

 attempting to join this lawsuit for one reason: he knew that it was his best chance at obtaining

 delay.” (Doc. # 128, at 4.) The Court respectfully disagrees and finds that this factor also

 militates in favor of finding that Spirko’s motion to intervene is timely. Defendants’ argument,

 while perhaps plausible, is nonetheless purely speculative and ignores the significant interest that

 Spirko has in the adjudication of this lawsuit, as well as the shared questions of law and fact that

 are obvious from the record and require no speculation.

        The third factor for this Court to weigh in determining whether the instant application is

 timely is the length of time preceding the application during which the proposed intervenor knew

 or reasonably should have known of his interest in the case. Defendants argue that “it is beyond

 peradventure that Spirko reasonably should have known about the Cooey lawsuit for at least the


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 last two years.” (Doc. # 128, at 4.) Although the Court agrees that Spirko reasonably should

 have known about the Cooey lawsuit for at least the last two years, the Court does not see how

 this factor tilts against finding that Spirko’s motion is timely. Two years ago, when Cooey first

 filed this lawsuit, Spirko was still actively litigating his habeas corpus action. In fact, litigation

 on Spirko’s Rule 60(b) motion for relief from judgment only concluded on December 22, 2005,

 and proceedings on his clemency application–proceedings that have five times resulted in

 reprieves to allow for DNA testing–has yet to conclude. Thus, to extent that Spirko had reason

 to be aware of Cooey’s lawsuit for the last two years, he had no reason to recognize his own

 significant interest in the outcome of Cooey’s lawsuit until his pursuit of habeas corpus relief

 was foreclosed. That occurred when the United States Supreme Court denied his certiorari

 petition on March 28, 2005. Spirko filed the instant motion to intervene on November, 2, 2006,

 well within the statute of limitations that this Court defined in its March 28, 2005 Opinion and

 Order (Doc. # 14, at 11).

         The fourth factor this Court must consider in determining whether the instant application

 is timely is the prejudice to the original parties due to the proposed intervenor’s failure, after he

 knew or reasonably should have known of his interest in the case, to apply promptly for

 intervention. In this regard, Defendants take issue with this Court’s determination on previous

 motions to intervene that there has been no prejudice to the State because the proceedings have

 been stayed. (Doc. # 110, at 4.) Defendants argue that they have been prejudiced “because we

 have undertaken additional and expedited litigation tasks due to the delay.” (Doc. # 128, at 4.)

 Defendants’ argument that they have been prejudiced by the expedited briefing schedule on

 Spirko’s motion to intervene requires this Court to accept the premise that Spirko could and


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 should have filed his motion to intervene earlier, thereby obviating the need for an expedited

 briefing schedule. This the Court cannot do. For the reasons discussed more fully above, this

 Court simply is not persuaded that Spirko should have recognized and acted upon his interest in

 Cooey’s litigation any earlier than he did, i.e., when his pursuit of habeas corpus relief was

 essentially foreclosed. Further, Defendants have not alleged, and it is not otherwise apparent to

 the Court, what undue or needless burden the original parties will suffer if Spirko is permitted to

 join this lawsuit now. Given the procedural posture of this stayed litigation, the Court concludes

 that permitting intervention here will neither unduly delay nor prejudice the adjudication of the

 rights of the original parties. Rather, permitting intervention here will facilitate the expeditious

 resolution of the rights of the original parties. See Secretary of Dept. of Labor v. King, 775 F.2d

 666, 669 (6th Cir. 1985) (affirming allowance of permissive intervention on such grounds).

        The fifth and final factor for this Court to weigh in assessing the timeliness of Spirko’s

 motion to intervene is the existence of any unusual circumstances militating against or in favor

 of intervention. In this regard, Defendants argue that “because intervention may equal injunction

 ... that is an unusual circumstance that should warrant denial of intervention under the fifth

 factor.” (Doc. # 128, at 4.) The Court does not agree with Defendants’ view that “intervention

 may equal injunction.” Although the analysis and explanation of the Court’s rationale are often

 the same in regard to every intervenor, this Court has dealt with every motion for a preliminary

 injunction to stay an execution that has been filed in connection with this proceeding on a case-

 by-case, fact-specific basis. Further, the Sixth Circuit vacated the preliminary injunction that

 this Court issued as to Plaintiff-Intervenor Lundgren (Doc. # 102). And, on November 9, 2006,

 this Court issued an Opinion and Order granting Jerome Henderon’s motion to intervene and


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 denying his motion for a preliminary injunction. (Doc. # 124.) It therefore tests the limits of

 credulity for Defendants to suggest that “intervention may equal injunction.” Beyond that,

 Defendants have not alleged any other unusual factors militating against intervention, and none

 are apparent to the Court.

         Having found that Spirko’s motion to intervene is timely, the Court turns to the issue of

 whether Spirko’s proffered complaint and the main action have a question of law or fact in

 common. The Court concludes that they do. At the core of Spirko’s complaint is the same

 method-of-execution challenge that the other plaintiffs assert, and Defendants do not appear to

 argue otherwise. That said, Defendants advance several reasons for why this Court should not

 permit Spirko to intervene in this case. First, Defendants reiterate, merely to preserve the

 arguments, that intervention improperly circumvents class action rules and that the intervenors

 had other, less intrusive ways of protecting their rights. (Doc. # 128, at 5.) The Court continues

 to find those arguments unpersuasive for the reasons previously expressed. Defendants further

 argue that this Court should not permit Spirko to intervene because of his failure to explain how

 the other parties to this case will not protect his rights through their litigation. (Doc. # 128, at 5.)

 The Court rejects this argument.

         Spirko has a significant interest in this case that cannot adequately be protected by the

 other plaintiffs because of the time-sensitive nature of his claims and the independent schedule

 that Spirko faces. If there were to be no executions by the specific lethal injection protocol at the

 heart of this lawsuit until this litigation were resolved, then the Court might accept Defendants’

 argument that Spirko’s rights, as well as the rights of all other similarly-situated inmates, could

 adequately be protected by Cooey and the other plaintiffs. But it is ridiculous to suggest that


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 Cooey can adequately protect Spirko’s rights when Spirko might very well face an execution

 date before Cooey. It is this factor that distinguishes the unreported decisions offered by

 Defendants supporting their argument, i.e., Donald Hall’s motion to intervene in Johnston v.

 Crawford, Case No. 4:04CV1075, pp. 2-3 (E.D. Missouri 2005). (Doc. # 128, at 5.) That is, it is

 not apparent from the decision cited by Defendants the point to which that lawsuit had

 progressed or whether the proposed intervenor faced an imminent execution date such that the

 existing plaintiffs could not adequately protect the interests of the proposed intervenor. For the

 foregoing reasons, the Court is persuaded that Spirko’s motion to intervene is well taken.

                              II. Motion for Preliminary Injunction

        Spirko also moves for entry of an emergency preliminary injunction preventing

 Defendants from using their current procedures of execution on him until his § 1983 claims are

 adjudicated. For the reasons that follow, this Court is constrained to deny his motion.

        On October 17, 2006, this Court issued an opinion and order granting Jeffrey Lundgren’s

 motion to intervene and motion for a preliminary injunction staying his execution. (Doc. # 92.)

 The Court incorporates that order by reference and attaches it for convenience.

        For the reasons discussed more fully in that opinion and order, this Court is of the view

 that Spirko, too, is entitled to a preliminary injunction staying his execution. If anything,

 Spirko’s circumstances are even more compelling than Lundgren’s situation, given that Spirko’s

 efforts to raise his claims at the earliest possible opportunity cannot be characterized as dilatory.

 Unfortunately for Spirko, the law of this case now appears to preclude this Court from granting

 his motion for a preliminary injunction to stay his execution. The Court first explained its

 rationale in a November 9, 2006 Opinion and Order denying Jerome Henderson’s motion for


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 preliminary injunction (Doc. # 124) and repeats that rationale verbatim below.

        October 23, 2006, the Court of Appeals for the Sixth Circuit issued a one-page, summary

 order vacating Lundgren’s stay of execution. The brevity of the Sixth Circuit’s order permits

 this Court with ease to reproduce the order in its entirety:

        BEFORE:          SUHRHEINRICH, SILER, and GILMAN, Circuit Judges

                Defendants-Appellants move this Court to vacate the order of the district
        court allowing Plaintiff-Appellee/Intervenor Jeffrey Lundgren to intervene as well
        as granting a preliminary injunction, i.e., a stay of the execution scheduled for
        October 24, 2006. The matter is currently before this panel after being transferred
        by the original panel by order dated October 23, 2006.

                The panel having considered the motion and the response in opposition
        thereto, and having found the motion to be well taken, it is

               ORDERED that the motion be, and it hereby is, GRANTED, and the stay
        of execution is hereby vacated.

        GILMAN, Circuit Judge, dissenting. I would uphold the stay of execution
        granted by the district court because I find no abuse of discretion in its evaluation
        of the factors governing the grant of Lundgren’s emergency motion for a
        preliminary injunction. Furthermore, any harm to the State or to the public
        interest in extending the stay would be greatly ameliorated by this Court
        substantially advancing our hearing in pending case No. 05-4057, Cooey v. Taft,
        which the panel intends to reset sua sponte.

 (Doc. # 123, Court of Appeals Order, Case No. 06-4374.) The Sixth Circuit did not issue any

 subsequent expanded opinion.

        From the Sixth Circuit’s October 23, 2006 Order, this Court now knows that it erred in

 granting Lundgren’s motion to intervene and/or for a preliminary injunction. This Court just has

 no idea how it erred.

        Two observations regarding the Sixth Circuit’s October 23, 2006 Order are necessary.

 First, the appellate court apparently does not preclude the intervention that this Court found


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 permissive above. Second, the appellate order clearly compels a denial of the injunctive relief

 sought here but does not enable this Court to explain why a denial is warranted and just.

        The Sixth Circuit’s Order vacating the preliminary injunction that this Court issued as to

 Plaintiff Lundgren purported to address “the order of the district court allowing [intervention] ...

 as well as granting a preliminary injunction, i.e., a stay of execution.” The decision on its face

 therefore targeted an appeal not only of this Court’s decision granting the preliminary injunction,

 but also of the Court’s decision allowing Lundgren to intervene. Despite this stated purpose,

 however, the appellate order stated that the panel “found the motion to be well taken” in a single

 sentence granting relief that was confined only to vacating the preliminary injunction. It is thus

 unclear whether the two-judge majority intended to find the motion well taken in regard only to

 the specific action taken (vacating the stay) or in regard to all possible action (overturning both

 the intervention order and the stay).

        This Court assumes that the appellate majority did not vacate the Court’s decision

 allowing Lundgren to intervene. The majority’s order provides little to no guidance in this

 regard, other than arguably the majority’s specific and limited action, but the dissent helps define

 the contours of what the majority actually held. The dissenting judge states that he would

 uphold the stay and does not mention the intervention issue. If the majority had addressed

 intervention, the dissent would have also had to address that threshold issue, because if the

 dissenting judge agreed that intervention was improper, Lundgren would be out of the case,

 there would be no jurisdiction supporting the stay order, and there would have been no need for

 the dissent to address the stay. If, however, the majority did not address intervention but instead

 addressed only the stay, then the dissent is appropriately confined.


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         Because the dissenting judge was obviously part of the panel’s discussion and privy to

  the intent of the majority, this Court reads the narrow nature of the dissenting opinion to reflect a

  narrow nature of the majority opinion. The Court is generally notably hesitant to read any

  appellate dissent as helping define a majority holding–such a situation risks contravening the

  axiomatic principle that a holding must be read for what it actually says and not by the

  characterization of a dissenting voice–but this is an unusual case insofar as the appellate majority

  has offered no reasoning whatsoever to support a decision that at best curiously addresses only

  one of two issues before it and at worst creates confusion by overturning both intervention and

  the stay, the former implicitly and the latter expressly.

         In other words, this Court is left with the unenviable task of construing a holding that is a

  conclusion with no expressed rationale. The Court therefore reads the majority’s decision to

  reach no further than its explicit holding–i.e., no stay was warranted–because reading the

  decision to mean anything more would mean that this Court is simply expansively guessing at

  what the appellate majority meant to hold. If the majority intended to overturn both intervention

  and the stay, simply granting the appellants’ motion would have done this. But by expressly and

  specifically stating that the stay of execution was vacated, the majority was apparently narrowing

  the scope of its granting of the appellants’ motion; to conclude otherwise would mean that by

  “repeating” the vacation of the stay, the majority was engaging in surplusage. The spartan

  nature of the majority decision suggests that this was not a majority with a proclivity toward

  such verbosity.

         The Sixth Circuit’s October 23, 2006 Order therefore targeted only the injunction staying

  the execution. The clear conclusion of the Order was that this Court erred in issuing a stay. And


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  in the absence of any stated rationale by the appellate majority, this Court cannot now conduct

  any meaningful discussion as to how Spirko’s circumstances fall inside or outside the hidden

  rationale of the Sixth Circuit majority.

         For purposes of appellate review, this Court notes that it would grant injunctive relief in

  the absence of the controlling appellate order. In determining whether to exercise its discretion

  to grant a preliminary injunction, a district court must balance the following factors:

         (1) whether the movant has a “strong” likelihood of success on the merits; (2)
         whether the movant would otherwise suffer irreparable injury; (3) whether
         issuance of a preliminary injunction would cause substantial harm to others; and
         (4) whether the public interest would be served by issuance of a preliminary
         injunction.

  McPherson v. Michigan High Sch. Athletic Ass’n, Inc., 119 F.3d 453, 459 (6th Cir. 1997) (en

  banc) (quoting Sandison v. Michigan High Sch. Athletic Ass’n, Inc., 64 F.3d 1026, 1030 (6th Cir.

  1995)). This Court remains as convinced now as it was when it issued its decision as to

  Lundgren that every factor that this Court is bound to consider in determining whether a

  preliminary injunction is warranted favors an intervenor such as Spirko.

         Given the evidence that Jeffrey Hill and Jerome Henderson first produced, as well as

  anecdotal evidence that Spirko included demonstrating problems that occurred during Ohio’s

  execution of inmate Joseph Clark on May 2, 2006, Spirko has demonstrated a stronger

  likelihood of success on the merits than some of the plaintiffs who preceded him, in view of the

  growing body of evidence calling Ohio’s lethal injection protocol increasingly into question.

  This Court stated unequivocally in its order granting Hill’s request for a preliminary injunction

  that it can not and will not turn a blind eye to the evidence presented in the cases of Brown v.

  Beck in North Carolina and Morales v. Hickman in California appearing to contradict the opinion


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  of Dr. Mark Dershwitz that virtually all persons given the dose of sodium thiopental prescribed

  under Ohio’s lethal-injection protocol would be rendered unconscious and would stop breathing

  within one minute. (Doc. # 45, at 6-9.) The evidence that has begun to emerge calling this and

  other conclusions by Dr. Dershwitz into question also persuades this Court that there is an

  unacceptable and unnecessary risk that Spirko will be irreparably harmed absent the injunction,

  i.e., that Spirko could suffer unnecessary and excruciating pain while being executed in violation

  of his Eighth Amendment right not to be subjected to cruel and unusual punishment.

         The Court is not persuaded that issuance of the preliminary injunction will cause

  substantial harm to the State by comparison. Without diminishing in any way the State’s

  significant interest in enforcing its criminal judgments in a timely fashion, it appears to this

  Court–even without a fully developed record–that the potential flaws identified in Ohio’s lethal

  injection protocol giving rise to the unacceptable risk of violating the Eighth Amendment’s

  proscription against cruel and unusual punishment are readily fixable. Thus, any delay in

  carrying out Spirko’s execution should and can be minimal. Any argument that the granting of

  an injunction would harm the State’s interest in fulfilling the judgment against Plaintiff Spirko in

  a timely manner is somewhat disingenuous, considering that but for the State’s interlocutory

  appeal, many if not all of the underlying issues would in all likelihood have been resolved by

  now. The fact that the state-obtained stay has prevented such resolution qualifies the weight to

  be afforded Defendants’ asserted harm, because such harm is ultimately self-inflicted. Self-

  inflicted harm that could result from issuance of preliminary injunctive relief should not

  necessarily preclude an injunction. Cf. Pappan Enter. v. Hardee’s Food Sys., Inc., 143 F.3d 800,

  806 (3d Cir. 1998) (holding in trademark infringement case that “a party’s self-inflicted harm by


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  choosing to stop its own performance under the contract and thus effectively terminating the

  agreement is outweighed by the immeasurable damage done to the franchiser of the mark”);

  Midwest Guar. Bank v. Guaranty Bank, 270 F. Supp. 2d 900, 924 (E.D. Mich. 2003) (holding

  that a party “cannot place itself in harms way, and then later claim that an injunction should not

  issue because of costs which it must incur in order to remedy its own misconduct”).

         Finally, this Court is persuaded that the public interest only is served by enforcing

  constitutional rights and by the prompt and accurate resolution of disputes concerning those

  constitutional rights. By comparison, the public interest has never been and could never be

  served by rushing to judgment at the expense of a condemned inmate’s constitutional rights.

         This Court is mindful of the many cases raising the same or similar challenges in which

  courts have denied motions for a preliminary injunction. See, e.g., Smith v. Johnson, 440 F.3d

  262, 263 (5th Cir. 2006); Bieghler v. Donahue, No. 06-1300, 2006 WL 229027 (7th Cir. Jan. 26,

  2006), vacated, 126 S.Ct. 1190 (2006); Vinson v. Johnson, 126 S.Ct. 1908, 2006 WL 1109748

  (U.S. Apr. 27, 2006). In those cases, however, the plaintiff’s undue delay in bringing his § 1983

  action was a factor weighing against him relative to the State’s strong interest in enforcing its

  criminal judgments. For example, in Smith v. Johnson, the Fifth Circuit remarked that “we have

  made clear that waiting to file such a challenge days before a scheduled execution constitutes

  unnecessary delay. Smith, 440 F.3d at 263 (citations omitted). In this Court’s view, there has

  been no such delay on Spirko’s part.

         As noted, for the reasons set forth above and discussed more fully in its Opinion and

  Order granting Lundgren’s motion to intervene and motion for a preliminary injunction, this

  Court is of the view that Spirko’s motion for a preliminary injunction should be granted. But, as


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  also noted, this Court is bound by the Sixth Circuit’s October 23, 2006 Order. That being so, the

  Court is constrained by that decision to deny Spirko’s motion for a preliminary injunction to stay

  his execution. (Doc. # 120.) That the Court cannot tell Spirko substantively why his request for

  injunctive relief fails is unfortunate.

                                            III. Conclusion

          For the foregoing reasons, the Court GRANTS John Spirko’s emergency motion to

  intervene (Doc. # 119) and DENIES Spirko’s motion for a preliminary injunction (Doc. # 120).

  The Clerk shall detach the proffered complaint attached to Doc. # 119 and file it on the docket.

          IT IS SO ORDERED.
                                                         /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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